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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                              Norfolk Division



  E. I. DU FONT D NEMOURS & CO.,

                          Plaintiff,
  V.

                                                            Civil Action No. 2:18cv326


  AGFA NV,e/a/.,

                          Defendants.



                                                  ORDER


          This matter is before the Court on the Report and Recommendation of the United States

  Magistrate Judge concerning two (2) Motions: E.I. DuPont de Neumours and Company's

  ("Plaintiffs" or "DuPont's") Motion for a Temporary Restraining Order and Preliminary

  Injunction, Doc. 21; and Agfa NY and Agfa-Gavaert NY's (collectively, "Agfa Defendants'")

  Motion to Dismiss, Docs. 57, 139.' The parties have filed several objections to the Report. See

  Docs. 140, 146.

          For the reasons stated herein, the Court OVERRULES the parties' objections and

  ADOPTS the Magistrate Judge's Report and Recommendation. The Court further DENIES

  DuPonfs request for leave to amend its Complaint.




   The sealed version ofthe Report and Recommendation is docketed at ECF No. 127("Report").

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